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                         EXHIBIT E
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         M E M O R A N D U M                                      DEPARTMEN'I      OF HEALTH AND HUMAN SERVICES
                                                                                PUBLIC HEALTH SERVICE
                                                                        FOOD AND DRUG ADMINISTR4TION
                                                                  CEyTER FOR DRUG 3hLUaT;CN LND RESE.LRC:!




         DATE:        May -i-,----l?90                     -_

         TO:          Director,          Division of Anti-infective Drug Prcdncts           (Ii'D-520)

         SUBJECT:     hccutane       2s   an "imminent hazard"

         FROM:        Section      Chief, Epidemiology          Branch   (HFD-733)



         The draft document describing the view o.f a major ity of the Accutane Monitoring
         Group does not describe in much detail certain areas which I believe are
         important to recognize.   Both Drs. Nelson and Anello have suggested that I write
         to express this position.

         I have worked intensively on the topic of maternal exposure to Accufane for
         nearly three years and have a comprehensive understanding of the epidemiology of
         Accutane use and pregnancy exposure to it. The most recent report produced on
         this subject leads to the conclusion that Accutane cannot safely be given to
         women of childbearing age or potential. All such women are at risk of becoming
         pregnant, and despite the most intensive efforts to eliminate this exposure, 3%
         of women treated thus far have experienced first trimester pregnancy exposure to
         this drug.

         The experience      cf   the past two years shows that intensive regulation has not,




         Acc;icane   2~~2s ar;               Z; +;ie puOil2 kea-s;:, ant as s-zch skould se
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         withdrawn immediately from the market.     The Secretary of Health and the Agency
         are empowered to do this if the Secretary determines that an imminent hazard to
         the public health exists (FD&C Act, Section 505(e)).       21 CF'R 2.5 describes
         further that "an imminent hazard to the public health is considered to exist
         when the evidence is sufficient to show that a product or practice, posing a
         significant threat of danger to health, creates a public health situation (1)
         that should be corrected immediately to prevent injury and (2) that should not
         be permitted to continue while a hearing or other formal proceeding is being
         held.  The "imminent hazard" may be declared at any point in the chain of events
         which may ultimately result in harm to the public health.       The occurrence of the
         final anticipated injury is not essential to establish that an "imminent hazard"
         of such occurrence exists."



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i             21 CFR continues "(b) In exercising his judgement on whether an "imminent
              hazard" exists, the Commissioner will consider the number of injuries
              znticipated and the nature, severity, and duration of the anticipated ixju=y.('

              L,,en the data known to date were presented to the Commissioner in March 1988, he
              said that pregnancy exposure, abortions and birth defects with Accutane "had to
              stop." The intenentions adopted by the Agency to achieve its publicly'stated
- -.__..   ---goal of eliminating pregnancy exposure to Accutane were shown to be failing Ln
              an April 1989 report, and the report just completed by us shows again the
              failure of these interventions.

             The courts have upheld the following criteria to be considered in evaluating
             whether an i;nminent hazard exists:

               1. The severity of the harm that could be caused by the drug during the
                  completion of customary administrative proceedings to withdraw the drug from
                  the general market.
              ?L. The likelihood that the drug will cause such harm to users while the,
                  administrative process is being completed.
               3. The risk to patients currently taking the drug that might be occasioned by
                  the immediate removal of the drug from the market, taking into account the
                  availability of other therapies and the steps necessary for patients to
                  adjust to these other therapies.
                                                                                             3
              4. The likelihood that, after the c/: stomary administrative process is

c                 compieted, the drug will be withdrawn from the general market.
              5. The availability of other approaches to protect the public health.

             I believe that the situation with Accutane qualifies as an imminent hazard by
             these criteria.

             i.  What is the severity of harm that could be caused by Accutane during the
             completion of customary administrative proceedings to withdraw the drug from the
             general market?

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             disabling      or rat-al birth defects in offspring of vomex who ;axe iz iii Z,ie firsr
             trimester      of pregnancy.        In recognition of this, Accutane was one of the first
             drugs to receive FDA pregnancy category X classification. As our data on drug
             use and contraceptive failure show, there probably have been between 15,000 and
             18,000 pregnancy exposures to Accutane since its appearance on the market in
             1982. The magnitude of fetal injury and death has been great and permanent,
             with 11,000 to 13,000 Accutane-related abortions and 900 to 1,100 Accutane-
             related birth defects.

             With biologic and mathematical determinism, these exposures have continued
             relentlessly despite repeated intensive, extraordinary and unprecedented
             regulatory efforts to solve the problem. During the past year, while the Agency
             waited for more complete data on the effect of its interventions to accumulate,


c            an additional 1,900 pregnancy exposures occurred with 1,500 abortions and 117
             children with birth defects.
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         2. hIat is   the likelihood of harm t;hLI.e   the administrative process is being
         completed?

         Customary administrative    proceedings to withdraw Accutane from tine general
         market would probably taice over two years.     During this time, many thousands of
         women would needlessly experience pr egnancv exposure to Accutane, with its
         disastrous   consequences.   Pregnancy exposure to Accutane occurs in about 32 of
__ -~   --women treated w-ith-the drug. This is predicted by models incorporating     current
         knowledge of contraceptive practices and pregnancy rates, and details of current
         use of Accutane in women. In four separate populations, high levels of
         pregnancy exposure consistent with that predicted by the model have been
         observed.   The 1Lkelihood of harm is great.

         3. Whst risk to patients currently taking Accutane might be occasioned by its
         immediate removai from the market?

         tier 90% of women currently treated with Accutane do not have the disease for,
         which the drug is approved. All of these patients could be treated with other,
         safer therapies. This is detailed in the product labeling which specifies that
         other therapies first be exhausted before using Accutane.

         For the fewer than 10% of women taking Accutane, who have severe recalcitrant
         cystic acne unresponsive to other therapies, there would be no other treatment
         that is totally effective, although partial improvement would probably be
         obtained from other existing treatments. However, severe cystic acne is not a
         fatal or life-threatening disease, and so the actual risk incurred by these
         patients because of removal of Accutane from the market is non-existent.        Also,
         Accutane carries a pregnancy category X classification which indicates that
         pregnancy exposure to it is not justifiable or acceptable.    The issue of
         "benefit" in a "risk-benefit" equation is not a consideration.     "The use of the
         drug in pregnant women clearly outweighs any possible benefit. The drug is
         contraindicated in women who are or may become pregnant."    As we have shown by
         modeling and xlC5 data fr3m four different popuiations, all women of
         childbearizcs i;ctaxtlal arz at risk ant "may become ?rngE2nt* ;r'r,ile cn drug.




        The likelihood is great because the level of public health risk is extremely
        high. Over 1% of the nation's women of childbearing age having been treated
        with Accutane thus far and a woman's reproductive-lifetime risk of exposure to
        the drug is almost 3X.   Of those treated with Accutane, 3% will have pregnancy
        exposure to the drug. The magnitude of harm which has already occurred, and
        which will continue to occur in the future is high.

        Furthermore, over 90X of the women experiencing pregnancy exposure to Accutane
        did not have the severity of disease for which Accutane was approved.   The only
        way to protect these women and their offspring is by immediate withdrawal of
        Accutane from the market.
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                 5.   Are there other approaches           available to protect the public health?

             The answer is no. Accutane cannot safely be administered to women of
             childbearing age or potential regardless of the setting in w'hich  it is used.
             This is clearly demonstrated by the occurrence of first trimester pregnancy
             exposure in 5% of women participating in IND studies, despi:e intensive,
             counselling, signed informed consent and contraception.    The use of Accutane
    -----cannot     be renderG--safe f.or women even by suc'n a controlled setting.

                The regulatory history for Accutane is extensive and to quote Dr. Tabor, former
                Director of the Division of Anti-Infective Drug Products, it has been "truly
                extraordinary."   Multiple advisory committee meetings, "Dear Doctor" letters,
                FDA Drug Bulletin articles, articles and editorials in professional journals,
                intensive labeling and relabeling with highlighted warnings, physician seminars.
                and educational programs, and much more have been done.   No other drug in recent
                history has been the subject of such intensive regulatory effort.    Despite this,
                the problem of pregnancy exposure to Accutane has continued virtually unchanged.

                The efforts of the most recent two years saw use of signed informed consent
                forms, and special packaging of the product in an effort to eliminate pregnancy
                exposure and solve the problem.   Signed informed consent did not prevent the 5%
                of women treated with Accutane during its pre-marketing clinical trials from
                experiencing pregnancy exposure to it, and it has not worked now.

                Restricting Accutane to use only by dermatologists will not eliminate the
                problem because over 90% of all Accutane currently dispensed is prescribed by
                dermatologists:

                Contraindicating the use of Accutane in women, but leaving Accutane on the
                market, will not eiiminate the problem because physicians will still prescribe
                the drug fcr them. This is clearly shown by the experience wit-h the most recent
                regulatory interrentions in which "Acc*utane                       is contraindicated in women unless
                u-7 _1 of the f0llow~p.g         ccndit<ons apply' (May 1988 action letter from FDA to
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                Accucane prSsCiib2b to ijomen in 1939 -gas contraindicated                          because the five
                criteria were not met in full. The majority of women did not have severe
                recalcitrant cystic acne, many (perhaps most) did not receive an initial
                pregnancy test and a sizable numbe,r did not receive written warnings.
                Contraindicating the use of the drug has not altered physician behavior very
                much and has not achieved the Agency's goal. Another problem created by
                contraindicating the use of Accutane in women but leaving it on the market is
                that physicians could prescribe the drug for men who do not have severe
                recalcitrant cystic acne with the understanding that it would be given to women,
                or other deceptive means could easily be taken to give Accutane to women.   In
                this situation, the Agency would lose all ability to document and quantitate the
                persistence of the problem.

                Restricted   distribution, limited to regional university-based centers would also.
                fail to achieve an environment where Accutane could safely be given to women of
    t           childbearing age or potential. This message is clear from the substantive body
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         of data showing that if Accutane is given to women, pregnancy exposure to it
        will occur 3% of the time, regardless of what is done to avoid it. The only way
         to eliminate pregnancy exposure to Accutane is to ensure that it is not
         available for or given to women.             Restricting the distribution of Accutane as
         above and permitting only men to be prescribed the drug would also not be
         effective at removing the imminent hazard . The reasons are several. First, to
         design and implement such a system might take two or more years, during which
-------time women would,.cont:inue..to.be..sub_j.ectto.the          public health risks of this drug.
        Second, the potential for diversion of Accutane to women because of men giving
        it to them is probably high.           It would be difficult or impossible to detect and
        quantitate this.

                There is no alternative to immediate     withdrawal of Accutane from the market. To
                delay only compounds the body count.      All previous efforts by FDA to achieve its
                goal of eliminating pregnancy exposure     to Accutane have failed.  Only the
                immediate withdrawal of Accutane from    the market will work.

                To put things in context, the level of occurrence of most severe and life-
                threatening adverse reactions to prescription drugs is on the order of 1 per
                20,000 to 1 per 100,000 or less. Among drugs approved in the United States and
                subsequently withdrawn (usually "voluntarily") from the market, the level' of
                risk for serious harm was probably in the range of 1 per 1,000 to 1 per 10,000.
                With Accutane, the risk is known with biologic certainty to be around 3 per 100,
                one to two orders of magnitude greater than with these other drugs.   The problem
                is made worse by the fact that cystic acne itself is not a life-threatening
                disease, and by the fact that more than 90 of every 100 women treated with
                Accutane don't'even have the severity of disease for which the drug was
                originally approved.

                Therefore, to permit Accutane to remain on the market would contradict the
                Agency‘s commitment to the public health as well as its goal to eliminate
                pregnancy exposure.




                                                    David J. Graham, MD, MPH
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             cc:
                   Peck (HFD-001)
                   Bilstad\Burlington    (HFD-500)
                   Nelson (HF'D-003)
                   Evans/Huene/Bostwick    (HFD-520)
                   Faich/AneLln-@FD=?OO.)    -~-----
                   Stadel/Graham (HF'D-733)
                   DRU 1.7 Isotretinoin




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